                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 1 of 24 Page ID
                                                     #:7602


                     1       JULIE A. DUNNE, Bar No. 160544
                             jdunne@littler.com
                     2       JOSHUA D. LEVINE, Bar No. 259405
                     3       jdlevine@littler.com@littler.com
                             LITTLER MENDELSON, P.C.
                     4       501 W. Broadway, Suite 900
                             San Diego, CA 92101.3577
                     5       Telephone: 619.232.0441
                     6       Facsimile: 619.232.4302

                     7
                             Attorneys for Defendant
                     8       NORDSTROM, INC.
                     9                             UNITED STATES DISTRICT COURT
                  10                             CENTRAL DISTRICT OF CALIFORNIA
                  11         JESSIKA TSENG, individually and     Case No. 11-CV-08471 CAS (MRWx)
                             on behalf of all others similarly
                  12         situated,                           DEFENDANT NORDSTROM,
                  13                                             INC.’S MEMORANDUM OF
                                           Plaintiff,            POINTS AND AUTHORITIES IN
                  14                                             SUPPORT OF MOTION TO
                             v.                                  CLARIFY RECORD AND
                  15                                             RECONFIRM APPROVAL OF
                             NORDSTROM, INC., and Does 1
                             through 50, inclusive,              PAGA SETTLEMENT
                  16
                                           Defendants.           Date:    January 28, 2019
                  17                                             Time:    10:00 a.m.
                                                                 Judge:   Hon Christina A. Snyder
                  18                                             Ctrm:    8D
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 2 of 24 Page ID
                                                     #:7603


                     1                                                TABLE OF CONTENTS
                     2
                                                                                                                                         PAGE
                     3       I.     INTRODUCTION ............................................................................................... 1
                     4       II.    RELEVANT FACTS AND PROCEDURAL HISTORY................................... 4
                     5              A.      The Court Denied Tseng’s Motion For Class Certification And
                                            Concluded That Tseng Could Not Prosecute Her PAGA Claim On
                     6                      Behalf Of All Cosmetic Sales Employees Statewide .............................. 5
                     7              B.      Settlement Discussions Facilitated By Judge Gandhi Culminated In
                                            The Settlement Agreement........................................................................ 6
                     8
                                    C.      The Settlement Agreement Was Not Conditioned On The Number
                     9                      Of Affected Employees, The Number of Pay Periods At Issue Or
                                            On A Specific Pay Period Value ............................................................... 7
                  10
                                    D.      Tseng’s Counsel Prepared The Motion For Approval Of The
                  11                        Settlement .................................................................................................. 9
                  12                E.      The Court Approved The Settlement Agreement ................................... 11
                  13                F.      Tseng’s Counsel Approved Administration Of The Settlement
                                            Based On The Final Counts Of Covered Employees And Pay
                  14                        Periods ..................................................................................................... 11
                  15                G.      Nordstrom Learns Of Concerns Regarding The Accuracy Of The
                                            Information Provided To This Court In Connection With Tseng’s
                  16                        Motion for Approval Of The Settlement ................................................ 13
                  17         III.   THE COURT SHOULD APPROVE A PAGA SETTLEMENT WHERE,
                                    AS HERE, THE SETTLEMENT IS FAIR, ADEQUATE, AND
                  18                REASONABLE AND PROMOTES THE PURPOSES OF PAGA ................. 14
                  19                A.      The Settlement Is Justified In Light Of The Significant Hurdles
                                            Tseng Faced To Manageably Litigate Her Seating Claim And
                  20                        Overcome Nordstrom’s Defenses On The Merits .................................. 15
                  21                        1.       The Court’s Prior Rulings Created A Significant Risk That
                                                     The Court Would Find That Tseng Could Not Manageably
                  22                                 Pursue Her Seating Claim On A Representative Basis ................ 15
                  23                        2.       There Was Also A High Risk That Tseng’s Claims Would
                                                     Fail On The Merits Given The Strength Of Nordstrom’s
                  24                                 Defenses ........................................................................................ 16
                  25                B.      Even If Tseng Had Succeeded In Bringing Her PAGA Seating
                                            Claim, There Is A High Likelihood The Court Would Have
                  26                        Exercised Its Discretion To Significantly Reduce Any PAGA
                                            Penalties Award ...................................................................................... 19
                  27
                             IV.    CONCLUSION ................................................................................................. 21
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                                       i.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 3 of 24 Page ID
                                                     #:7604


                     1                                                TABLE OF AUTHORITIES
                     2
                                                                                                                                                   PAGE
                     3       Cases
                     4       Aguirre v. Genesis Logistics,
                     5         2013 U.S. Dist. LEXIS 189820 (C.D. 2013) ........................................................... 20
                     6       Bruce v. Del Monte Foods, Inc.,
                     7          2018 U.S. Dist. LEXIS 53800 (N.D. Cal. Mar. 29, 2018) .......................... 14, 18, 19

                     8       Fleming v. Covidien, Inc.,
                                2011 U.S. Dist. LEXIS 154590 (C.D. Cal. 2011) ................................................... 20
                     9
                  10         Gomez v. J. Jacobo Farm Labor Contr., Inc.,
                               188 F. Supp. 3d 986 (E.D. Cal. 2016) ..................................................................... 17
                  11
                             Hamilton v. State Farm Fire & Cas.Co.,
                  12
                               270 F.3d 778 (9th Cir. 2001) ................................................................................... 18
                  13
                             Juarez v. Villafan,
                  14            2017 U.S. Dist. LEXIS 137205 (E.D. Cal. 2017) ................................................... 19
                  15
                             Kilby v. CVS Pharmacy, Inc.,
                  16            63 Cal. 4th 1 (2016). ............................................................................................ 6, 17
                  17         Ortiz v. Hobby Lobby Stores, Inc.,
                  18            52 F. Supp. 3d 1070 (E.D. Cal. 2014) ..................................................................... 16
                  19         Reyes v. Macy’s, Inc.,
                                202 Cal. App. 4th 1119 (2011) ................................................................................ 16
                  20
                  21         Salazar v. Sysco Cent. Cal., Inc.,
                                2017 U.S. Dist. LEXIS 14971 (E.D. Cal. 2017)
                  22            ............................................................................................................... 14, 15, 18, 19
                  23
                             Williams v. Superior Court,
                  24            237 Cal. App. 4th 642 (2015) .................................................................................. 16
                  25         Statutes
                  26
                             Cal. Lab. Code § 2699(e)(2) ......................................................................................... 20
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                                          2.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 4 of 24 Page ID
                                                     #:7605


                     1       I.    INTRODUCTION
                     2             Plaintiff Jessika Tseng (“Tseng”) filed this action on September 9, 2011,
                     3       asserting a single claim for alleged failure to provide suitable seating under the
                     4       California Private Attorney General Act (“PAGA”).          The parties subsequently
                     5       engaged in extensive litigation spanning over six years. The parties attended two
                     6       settlement conferences, and after lengthy, arms-length negotiations overseen by
                     7       former U.S. Magistrate Judge Jay C. Gandhi1, the parties’ reached a settlement in July
                     8       2017. This Court approved the parties’ PAGA settlement on January 8, 2018, but
                     9       “reserve[d] exclusive and continuing jurisdiction over the lawsuit for the purposes of
                  10         supervising the implementation, enforcement, construction, administration, and
                  11         interpretation of the Settlement Agreement and this Judgment.” (Doc. 252 [1/8/18
                  12         Order].)
                  13               In connection with Nordstrom’s attempt to resolve another, related matter,
                  14         questions arose regarding whether Tseng’s Motion for Approval of the Settlement
                  15         provided incorrect information, including whether the declaration supporting the
                  16         Motion for Approval contained an inaccurate estimate of pay periods covered by the
                  17         Settlement. 2 Nordstrom investigated and confirmed that the estimated statewide pay
                  18         period count provided in Tseng’s counsel’s supporting declaration was inaccurate.
                  19         Consequently, the estimated settlement valuation provided in Tseng’s Motion for
                  20         Approval could lead to an incorrect inference regarding the per-pay-period value
                  21         represented by the Settlement.
                  22               Although Nordstrom did not file any pleadings in connection with Tseng’s
                  23         Motion for Approval, Nordstrom files this motion out of an abundance of caution to
                  24
                  25         1
                               At the time that the parties’ settlement was reached, Judge Gandhi was an active
                  26         U.S. Magistrate Judge for the Central District of California. He has since retired and
                             now works as a private mediator.
                             2
                  27           The issue arose in the context of mediation discussions in a separate matter. The
                             discussions are therefore covered by a mediation confidentiality agreement, and thus,
                  28         the details of the discussions are not included in this Motion.
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 5 of 24 Page ID
                                                     #:7606


                     1       ensure the Court has a full and final accounting of the Settlement and to ask that the
                     2       Court re-affirm its order approving the Settlement on the following grounds:
                     3              The Settlement Agreement by its own terms is not based on employee
                     4                headcount, pay period counts, or a pay period valuation;
                     5              The Settlement Administrator provided Tseng’s counsel with the final
                     6                employee count, the final pay period count, the minimum payment to
                     7                Affected Employees and the maximum payment to Affected Employees
                     8                before administering the Settlement, and specifically asked Tseng’s counsel
                     9                (i.e., counsel for the ‘deputized’ PAGA representative of the State) for
                  10                  authorization to administer the Settlement based on that information.
                  11                  Tseng’s counsel approved administration of the Settlement.
                  12                The Settlement Administrator’s weekly reports regarding the administration
                  13                  of the Settlement provided to the parties confirmed that payments had been
                  14                  mailed to 8,413 employees and further reported the amount of settlement
                  15                  checks that Affected Employees had cashed.3
                  16                Section “D” of the Settlement Agreement specified the tasks that the
                  17                  Settlement Administrator was required to complete in order to administer the
                  18                  Settlement. Paragraph 34 of Section D specified that Tseng’s counsel must
                  19                  file a declaration from the Settlement Administrator, confirming the
                  20                  Settlement was fully and properly administered, which Tseng’s counsel filed
                  21                  on October 17, 2018. (Doc. 253.)
                  22                The Settlement allowed for prompt payments to the Labor and Workforce
                  23                  Development Agency (“LWDA”) and Affected Employees that were
                  24                  completed in March 2018 and avoided the need to potentially wait years for
                  25                  the case to be resolved through further litigation, including on appeal from
                  26                  any trial determination.
                  27         3
                               Declaration of Julie Dunne (“Dunne Decl.”), ¶ 5, Ex. C (Reports dated 3/30/18-
                  28         5/25/18).
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                  2.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 6 of 24 Page ID
                                                     #:7607


                     1         Tseng’s negotiation of an agreement requiring Nordstrom to pay $995,000,
                     2          plus the cost of administration, to resolve the PAGA seating claim at issue
                     3          represented a significant recovery in light of the risk that Tseng would
                     4          recover $0 if she continued to litigate the lawsuit:
                     5           o The Court had already denied Tseng’s motion to prosecute her PAGA
                     6              seating claim on a class action basis;
                     7           o In the context of Nordstrom’s Motion to Strike Tseng’s PAGA
                     8              Representative Action Claims, the Court had already concluded it was
                     9              “obvious” Tseng could not prosecute her PAGA claim on behalf of all
                  10                Nordstrom Cosmetic sales employees statewide, but allowed her to file a
                  11                motion attempting to establish that she could prosecute the seating claim
                  12                on behalf of a narrower subgroup of Cosmetic sales employees;
                  13             o Tseng filed a motion asking for permission to prosecute her seating
                  14                claim either on behalf of the Cosmetic sales employees who worked at
                  15                allegedly “functionally equivalent” counters and cash wraps or,
                  16                alternatively, on behalf of only those Cosmetic sales employees who
                  17                worked at the same three counters and cash wraps at which Tseng
                  18                previously worked;
                  19             o Nordstrom opposed Tseng’s motion, establishing why Tseng could not
                  20                manageably prosecute her seating claim on behalf of any subgroup of
                  21                Cosmetic sales employees;
                  22             o The parties agreed to settle the case on the eve of the hearing for Tseng’s
                  23                motion to prosecute her seating claim on behalf of a narrower subgroup
                  24                of employees, and if her motion failed, Tseng potentially stood to
                  25                recover nothing on behalf of the LWDA and the allegedly aggrieved
                  26                employees she sought to represent in the litigation.
                  27             o Even if Tseng had been permitted to prosecute her seating claim on
                  28                behalf of a narrower subgroup of Cosmetics sales employees, Nordstrom
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                 3.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 7 of 24 Page ID
                                                     #:7608


                     1                    had strong defenses to her seating claim, and there was a substantial risk
                     2                    Tseng would lose on the merits of her claim, resulting in no recovery for
                     3                    the LWDA or the allegedly aggrieved employees Tseng sought to
                     4                    represent; and
                     5                 o In the event that Tseng did prevail, the Court had discretion to
                     6                    significantly reduce the PAGA award, especially given prior Opinion
                     7                    Letters by the Division of Labor Standards Enforcement (“DLSE”) and
                     8                    Industrial Welfare Commission (“IWC”) dating back to the mid-1980’s
                     9                    which stated that the nature of retail salespeople’s work did not
                  10                      reasonably permit the use of seats.
                  11               For these reasons, as more fully explained below, Nordstrom respectfully
                  12         requests that this Court re-confirm its approval of the parties’ PAGA Settlement.
                  13         II.   RELEVANT FACTS AND PROCEDURAL HISTORY
                  14               Jessika Tseng is a former Nordstrom Cosmetic sales employee who filed this
                  15         action in Los Angeles Superior Court on September 9, 2011, alleging a single PAGA
                  16         cause of action based on her suitable seating theory. (Doc. 1) Specifically, Tseng
                  17         alleged that the nature of Nordstrom Cosmetic sales work reasonably permits sitting,
                  18         and that Nordstrom failed to provide suitable seats to all Nordstrom Cosmetic sales
                  19         employees in California as required by California Wage Order 7 section 14(A).
                  20         Nordstrom subsequently removed the case to this Court. (Id.) On July 23, 2012,
                  21         Tseng amended her Complaint to style it as a class action under Rule 23, brought on
                  22         behalf of “all others similarly situated.”    (Doc. 48 [First Amended Complaint].)
                  23         Specifically, Tseng alleged that “Plaintiff’s [suitable seating] claims [are] typical of
                  24         the claims of the other Class Members” and that “Defendant’s common course of
                  25         unlawful conduct [] caused Plaintiff and Class Members to sustain the same or similar
                  26         injuries and damages caused by the same common policies, practices, and decision of
                  27         Defendant.” (Id. at ¶ 12.)
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      4.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 8 of 24 Page ID
                                                     #:7609


                     1             A.     The Court Denied Tseng’s Motion For Class Certification And
                                          Concluded That Tseng Could Not Prosecute Her PAGA Claim On
                     2                    Behalf Of All Cosmetic Sales Employees Statewide
                     3             On August 23, 2013, Tseng filed a Motion for Class Certification, which this
                     4       Court denied on January 15, 2014, concluding that variations among Nordstrom
                     5       Cosmetics departments in California precluded class treatment. (Doc. 164 [Tseng
                     6       Order Denying Class Cert.] at 9.) In doing so, this Court found that Nordstrom
                     7       “supplied considerable evidence that the existing conditions regarding the nature of
                     8       the work performed by Cosmetics Counter Employees varies both store-to-store and
                     9       employee-to-employee.”       (Id. [emphasis added]; see also Doc. 249-5, Ex. A
                  10         [Settlement Agreement], ¶ 21 [detailing the procedural history of the case, including
                  11         that class certification was denied, in section of the Settlement Agreement laying out
                  12         the key events leading up to the Settlement and the parties’ reasons for settling] .)
                  13               On September 8, 2016, Nordstrom filed a Motion for Judgment on the
                  14         Pleadings, arguing that Tseng could not manageably litigate a PAGA “representative”
                  15         seating claim on behalf of all Cosmetic sales employees in the state. The district
                  16         court agreed that Tseng could not represent all Cosmetic sales employees statewide,
                  17         but the Court afforded Tseng an opportunity to prove whether her seating claim could
                  18         be litigated on behalf any subset(s) of Cosmetic sales employees. In doing so, the
                  19         Court emphasized the differences among Nordstrom’s Cosmetic sales employees:
                  20               [W]e have to put the burden on the plaintiff to figure out and set forth
                  21               what people the plaintiff seeks to represent because I agree with
                  22               [Nordstrom] she can’t respect [sic, represent] every single Nordstrom
                  23               employee in every single cosmetics department across the state. That’s
                  24               obvious. She has a higher burden. And that’s exactly what I’m asking
                  25               the plaintiff to do[,] come forward and meet that burden.
                  26         (Dunne Decl., ¶ 2, Ex. A [12/19/16 Tseng Hrg.] at 10:8-14 [emphasis added].)
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                       5.
         619.232.0441
                    Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 9 of 24 Page ID
                                                     #:7610


                     1             In response, Tseng filed a Motion for an Order Defining the Scope of Plaintiff’s
                     2       PAGA Claim (“Motion to Define the Scope”) on March 13, 2017. (Doc. 219.)
                     3       Recognizing the significant variation in the layout at Nordstrom’s Cosmetics counters,
                     4       Tseng requested that the Court “define the group of employees on whose behalf the
                     5       PAGA trial will go forward as those Nordstrom [Cosmetic sales employees] who
                     6       worked at either the counters and cashwraps where [Tseng] worked [at only 3 stores]
                     7       or the counters and cashwraps that are functionally virtually identical to these….”
                     8       (Doc. 219 [Tseng Motion, p. 2]; Doc. 249-4 [explaining that there are 85 cosmetics
                     9       counters and 25 cash wraps that are functionally identical].) Nordstrom opposed
                  10         Tseng’s motion, establishing that Tseng could not manageably prosecute her PAGA
                  11         “representative” seating claim even on behalf of the proposed narrower subgroups of
                  12         employees under Kilby v. CVS Pharmacy, Inc., 63 Cal. 4th 1 (2016). (Doc. 228 [Opp.
                  13         to Mot. to Define Scope].)
                  14               B.    Settlement Discussions Facilitated By Judge Gandhi Culminated In
                  15                     The Settlement Agreement
                                   While Tseng’s Motion to Define the Scope of her Claims was still pending, the
                  16
                             parties reached a settlement that completely resolved Tseng’s PAGA seating claim on
                  17
                             behalf of herself and all other current and former Cosmetic sales employees who
                  18
                             worked for Nordstrom in California from September 9, 2010 through the date the
                  19
                             Court approved the settlement on January 8, 2018. (Doc. 252 [1/8/18 Order], Doc.
                  20
                             249-5, Ex. A [Settlement Agreement].)
                  21
                                   The parties reached the settlement after two separate settlement conferences
                  22
                             with Judge Gandhi, six years of litigation, and extensive discovery and motions
                  23
                             practice. The first settlement conference occurred on April 2, 2014, lasted a full day,
                  24
                             and did not result in a settlement. (Doc. 172.) The second settlement conference
                  25
                             occurred on June 28, 2017 and also lasted a full day. (Doc. 243.) Again, the case did
                  26
                             not immediately settle at the June 28, 2017 conference, but subsequent negotiations
                  27
                             directly overseen by Judge Gandhi did result in the parties reaching a settlement in
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      6.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 10 of 24 Page ID
                                                    #:7611


                     1       principle on July 21, 2017. The parties filed a Notice of Settlement on that same
                     2       date.4 (Doc. 245.) Notably, the settlement was reached three days prior to the hearing
                     3       on Plaintiff’s Motion for an Order Defining the Scope of Plaintiff’s PAGA Claim.
                     4       (Doc. 242; see also Doc. 249-5 [Settlement Agreement], ¶ 21(i) [noting that the
                     5       Parties agreed to settle this Action while Tseng’s Motion for an Order Defining the
                     6       Scope was still pending].) Had the case not settled, the Court could have denied
                     7       Tseng’s motion for permission to represent any other group of Cosmetic sales
                     8       employees, thus rendering her PAGA action entirely moot.
                     9             C.    The Settlement Agreement Was Not Conditioned On The Number
                  10                     Of Affected Employees, The Number of Pay Periods At Issue Or On
                                         A Specific Pay Period Value
                  11               On December 4, 2017, the parties executed a formal Settlement Agreement.
                  12         The Settlement Agreement obligated Nordstrom to pay $995,000, plus the cost of
                  13         administration. (Doc. 249-5, Ex. A [Settlement Agreement], ¶¶ 20, 32.) The parties
                  14         agreed to allocate the $995,000 as follows: (1) $487,500 for PAGA penalties, to be
                  15         distributed 75% ($365,625) to the LWDA and 25% ($121,875) to employees covered
                  16         by the Settlement (i.e., the Individual Settlement Allocation); (2) $497,500 for
                  17         attorney fees and costs; and (3) $10,000 for an incentive award for Tseng. The
                  18         Settlement Agreement was not conditioned on the number of employees covered by
                  19         the Settlement, the number of pay periods covered by the Agreement, or on a
                  20         specific pay period value.5 (Doc. 252 [1/8/18 Order]; Doc. 249-5, Ex. A [Settlement
                  21         Agreement].)
                  22
                  23
                             4
                  24           Due to the privileges protecting mediation and settlement discussions, the specific
                             content of the discussions facilitated by Judge Gandhi leading up to the Settlement are
                  25         not discussed here.
                             5
                  26           The Settlement Agreement only referred to pay periods when describing how the
                             settlement proceeds should be apportioned to Affected Employees. The Agreement
                  27         stated that the Affected Employees’ payments would be “based on the number of
                             Qualifying Pay Periods worked by each Affected Employee during the PAGA
                  28         Period.” (Doc. 249-5, Ex. A [Settlement Agreement], ¶ 36(a)(ii).)
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                        7.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 11 of 24 Page ID
                                                    #:7612


                     1             The parties also memorialized their respective reasons for settling in the
                     2       Settlement Agreement, stating:
                     3                   24. Based on the foregoing data and on its own independent
                     4             investigation and evaluation, PAGA Counsel is of the opinion that the
                     5             Settlement for the consideration and on the terms set forth in this
                     6             Stipulation of Settlement is fair, reasonable, and adequate and is in the
                     7             best interest of the Affected Employees in light of all known facts and
                     8             circumstances, including the risk of significant delay and uncertainty
                     9             associated with litigation, the various defenses asserted by Defendant,
                  10               and the numerous potential appellate issues.
                  11                     25. Defendant has likewise concluded that it is desirable that the
                  12               Action be settled in a manner and upon such terms and conditions set
                  13               forth herein in order to avoid further expense, inconvenience and
                  14               distraction of further legal proceedings, and the risk of the outcome of the
                  15               Action. Therefore, although it vigorously denies that the Action has any
                  16               merit, Defendant has determined that it is desirable and beneficial to put
                  17               to rest the claims in the Action. Defendant agrees the Settlement is fair,
                  18               reasonable, and adequate.
                  19         (Doc. 252 [1/8/18 Order], Doc. 249-5, Ex. A [Settlement Agreement], ¶¶ 24-25
                  20         [emphasis added].)
                  21               Notably, in these paragraphs – which specify the parties’ reasons for settling –
                  22         there is no mention of the Settlement Agreement being reached on the basis of the
                  23         number of employees covered by the Settlement, the number of pay periods covered
                  24         by the Settlement or on a specific pay-period valuation.
                  25               Moreover, the parties agreed upon a notice to be provided to Affected
                  26         Employees that explained why they were receiving a settlement check. (Doc. 249-6
                  27         Ex. 1 to Settlement [Approved PAGA Settlement Notice].) The Notice stated only:
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      8.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 12 of 24 Page ID
                                                    #:7613


                     1             You are receiving this Notice because of a lawsuit brought by a former
                     2             California Nordstrom Cosmetics employee, Jessica Tseng (“Plaintiff”),
                                   for civil penalties pursuant to the Private Attorneys General Act, Labor
                     3             Code § 2698 et seq. (“PAGA”). Plaintiff claimed that she and other
                     4             Nordstrom California Cosmetics employees were entitled to seats while
                                   working on the sales floor during their employment with Nordstrom.
                     5
                     6             Nordstrom denies these claims and denies that it owes any penalties, but
                                   to avoid further time and expense in litigation, Nordstrom and Plaintiff
                     7             have agreed to settle the case. The settlement resolves the claims asserted
                     8             in the lawsuit on behalf of all Nordstrom Cosmetic Sales Employees who
                                   worked in California between September 9, 2010 and [January 8, 2018].
                     9             (“Affected Employees”).
                  10
                                   According to Nordstrom’s records, you are an Affected Employee and
                  11               are therefore entitled to a share of the settlement. Enclosed with this
                  12               Notice is your settlement check. The settlement check shall remain valid
                                   for one hundred eighty (180) days.
                  13
                  14         (See Doc. 249-5, Ex. A [Settlement Agreement], Doc. 249-6 Ex. 1 to Settlement

                  15         [Approved PAGA Settlement Notice].) The Notice accompanying the payment

                  16         checks to Affected Employees did not include any specified or estimated pay period

                  17         number or amount. (Id.)

                  18               D.    Tseng’s Counsel Prepared The Motion For Approval Of The
                                         Settlement
                  19
                                   After the parties’ Settlement was fully executed on December 4, 2017, Tseng’s
                  20
                             counsel prepared a draft of the proposed Motion for Approval of the Settlement for
                  21
                             review by the parties.6 (Declaration of Dominic Messiha [“Messiha Decl.”], ¶¶ 5-7,
                  22
                             Exs. A-B [12/4/17 email].) 7 The draft of the Motion for Approval provided an
                  23
                  24
                  25         6
                               Tseng’s counsel did not send a copy to Nordstrom’s counsel of the proposed
                  26         declaration(s) in support of the Motion for Approval prior to filing the motion. (See
                             Messiha Decl., ¶¶ 5-6, Ex. A.)
                             7
                  27           Tseng’s counsel sent the draft motion to Dominic Messiha, who was one of
                             Nordstrom’s counsel of record at the time but who has since left Littler. (See Doc.
                  28         250.)
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      9.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 13 of 24 Page ID
                                                    #:7614


                     1       estimated value of the Settlement relating only to the subgroup of employees that
                     2       Tseng sought to represent:
                     3             As described above, Ms. Tseng’s motion regarding the scope of the
                     4             trial was fully briefed, but not yet heard or decided. In her motion,
                     5             Ms. Tseng sought to represent at trial the seating claims of both
                     6             those employees who worked at the counters and cashwraps where
                     7             she herself worked, and those employees who worked at functionally
                     8             identical counters and cash wraps.        Dkt. # 219.     In total, that
                     9             amounted to the employees who worked at eighty-five Nordstrom
                  10               cosmetics counters and twenty-five additional cashwraps. Dkt. #
                  11               219-1 at 2.     Assuming a conservative estimate of only “initial
                  12               violation” penalties, Ms. Tseng estimates the likely maximum PAGA
                  13               penalties for the employees who worked at those counters and
                  14               cashwraps as $4,211,788, based on Nordstrom’s estimate of statewide
                  15               workweeks through December 2016.
                  16         (See Messiha Decl., ¶ 7, Ex. B [highlighting in original, other emphasis added].)8
                  17               Tseng’s counsel filed the final Motion for Approval of the Settlement on
                  18         December 8, 2017. (Doc. 249.) The final motion changed to estimating the likely
                  19         value of PAGA penalties attributable to the statewide group instead of just to the
                  20         subgroup (as provided in the draft motion):
                  21               Assuming a conservative estimate of only “initial violation” penalties,
                  22               Ms. Tseng estimates the likely maximum PAGA penalties for all of the
                  23               CCEs who worked at all of the 32 Nordstrom’s stores during the liability
                  24               period as $4,506,500, based on Nordstrom’s estimate of statewide
                  25
                  26
                             8
                  27          The $4,211,788 maximum valuation based on the subgroup referenced in Tseng’s
                             draft motion was within the same range as Nordstrom’s own valuation of the
                  28         maximum PAGA penalties available for that subgroup. (See Messiha Decl., ¶ 8.)
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                 10.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 14 of 24 Page ID
                                                    #:7615


                     1             workweeks through the fall of 2016, and updating those workweeks
                     2             through the present. Tindall Decl., ¶ 7.
                     3       (Doc. 249-1, p. 11 [emphasis added].)9
                     4             E.    The Court Approved The Settlement Agreement
                     5             The Court approved the Settlement Agreement on January 8, 2018. (Doc. 252
                     6       [1/8/18 Order].)    The Court’s January 8, 2018 Order specified that the Court
                     7       “reserve[d] exclusive and continuing jurisdiction over the lawsuit for the purposes of
                     8       supervising the implementation, enforcement, construction, administration, and
                     9       interpretation of the Settlement Agreement and this Judgment.” (Doc. 252 [1/8/18
                  10         Order].)
                  11               F.    Tseng’s Counsel Approved Administration Of The Settlement Based
                  12                     On The Final Counts Of Covered Employees And Pay Periods

                  13               Following the Court’s approval of the parties’ Settlement, Nordstrom provided

                  14         the Settlement Administrator, Epiq Systems (“Epiq”), with updated data on the

                  15         Affected Employees as required by the Settlement Agreement. (Doc. 253, ¶ 3.) Epiq

                  16         then analyzed the data, and on March 12, 2018, its Director of Client Services, David

                  17         Garcia, sent an email notifying counsel for both parties of the final data for the

                  18         Settlement and asked for permission to administer the Settlement based on those

                  19         numbers. Mr. Garcia’s email confirmed that the final number of Affected Employees

                  20         who would receive payments was 8,413 and that the final pay period count was

                  21         365,196. (Dunne Decl., ¶ 3, Ex. B [3/12/18 David Garcia email].) In full, Mr.

                  22         Garcia’s email to Tseng’s and Nordstrom’s counsel stated:

                  23               Good Afternoon,
                  24               I have attached a spreadsheet listing the eligible pay periods and the
                                   payment amounts for each class member. Please note that for security
                  25
                             9
                  26           Nordstrom did not receive Tseng’s final Motion for Approval of the Settlement or
                             the supporting declaration until it was filed. (Messiha Decl., ¶ 6.) At that time,
                  27         Nordstrom’s counsel did not notice that the motion had been revised to attribute the
                             estimated settlement value to the statewide group rather than the subgroup of
                  28         employees that Tseng sought to represent. (See Messiha Decl., ¶¶ 9-10.)
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                    11.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 15 of 24 Page ID
                                                    #:7616


                     1             purposes, I have not included the names of each claimant, but instead
                                   have included a Tracking Number, which is a unique identifier that Epiq
                     2             assigns to each claimant. Also, this spreadsheet includes the calculated
                     3             payment for Ms. Tseng, but it does not include her service payment. Ms.
                                   Tseng’s service payment will be sent separately.
                     4
                                   There are 8,413 class members with a total of 365,196 eligible pay
                     5             periods. Per Section E, paragraph a of the Settlement Agreement, the
                                   amount to be paid on a pro rata basis to the class is $121,875, which
                     6             means that each eligible pay period is worth approximately $0.33. The
                     7             average payment amount per claimant is $14.48, the lowest payment
                                   amount is $0.33 and the highest payment amount is $59.06 (again,
                     8             excluding the service payment). Due to rounding, the total of all
                                   payments is $121,830.80, which will leave a remainder of $44.20.
                     9
                  10               Please review the attached spreadsheet and confirm that you approve of
                                   the methodology that I’ve outlined above. As always, if I may provide
                  11               any additional information, please do not hesitate to contact me directly.
                  12               Thank you,
                  13               David Garcia, MBA, PMP
                  14               Epiq | Director, Client Services

                  15         (Dunne Decl., ¶¶ 3-4, Ex. B [3/12/18 David Garcia email] [emphasis added].)
                  16               In response to the request for approval, Tseng’s counsel, Steven Tindall,
                  17         responded: “Others should weigh in, but this seems fine to me.” (Dunne Decl., ¶ 4,
                  18         Ex. B [3/12/18 Tindall email] [emphasis added].) Likewise, Tseng’s other counsel,
                  19         Jessica Riggin, responded: “I approve. Thanks.” (Dunne Decl., ¶ 4, Ex. B [3/12/18
                  20         Riggin email] [emphasis added].) Based on the final figures confirmed by Epiq, the
                  21         total final per pay period amount for the Settlement was $2.8010 and the total per
                  22         employee amount was $121.36.11
                  23
                  24
                             10
                                This amount is obtained by taking the total overall settlement amount of $995,000
                  25         plus administration fees of $26,021 (which Nordstrom paid separately) divided by
                  26         365,196 pay periods and is rounded to the nearest cent (i.e., $1,021,021 ÷ 365,196).
                             (See Dunne Decl., ¶ 6, Ex. D [Epiq Invoices].)
                             11
                  27            This amount is obtained by taking the total overall settlement amount of $995,000
                             plus administration fees of $26,021 and dividing by the final headcount of Affected
                  28         Employees (8,413) and rounding to the nearest cent (i.e., $1,021,021 ÷ 8,413).
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                    12.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 16 of 24 Page ID
                                                    #:7617


                     1             After receiving approval to administer the Settlement:
                     2              Epiq made settlement payments to all 8,413 Affected Employees and the
                     3                  LWDA on or about March 21, 2018. (See Doc. 253, ¶ 4.)
                     4              From late-March through May 2018, Epiq provided Tseng’s and
                     5                  Nordstrom’s counsel with nine weekly reports regarding the administration
                     6                  of the Settlement, and each of those weekly reports confirmed that Epiq
                     7                  mailed payments to 8,413 employees and further reported the amount of
                     8                  settlement checks that Affected Employees had cashed. (Dunne Decl.”), ¶ 5,
                     9                  Ex. C (3/30/18-5/25/18 Reports).
                  10                In accordance with the Settlement Agreement’s mandate that “PAGA
                  11                    Counsel shall file . . . [the Settlement Administrator’s] written certification
                  12                    with the Court” verifying that the Settlement was fully and properly
                  13                    administered, Tseng’s counsel filed the Declaration of David Garcia
                  14                    Regarding Certification of Completion of the Settlement on October 17,
                  15                    2018. (Doc. 253.) The declaration of Mr. Garcia filed by Tseng’s counsel
                  16                    confirmed the final headcount of Affected Employees (8,413), noted that
                  17                    4,632 employee checks were cashed (totaling $88,935.91) and 3,781
                  18                    employee checks were not cashed (totaling $32,894.89 12 ), and confirmed
                  19                    that “Epiq has completed all of its duties under the terms of the Settlement
                  20                    Agreement.” (Doc. 253, ¶ 6.)
                  21               G.      Nordstrom Learns Of Concerns Regarding The Accuracy Of The
                  22                       Information Provided To This Court In Connection With Tseng’s
                                           Motion for Approval Of The Settlement
                  23               In a separate matter, Nordstrom learned there were concerns that the Court’s
                  24         approval of the Settlement was based, in part, on incorrect information.13 Nordstrom
                  25
                             12
                  26            Pursuant to the terms of the Settlement, the $32,894.89 in un-cashed checks was
                             transferred to the cy pres designee, Legal Aid at Work on October 1, 2018. (Doc. 253,
                  27         ¶ 7.)
                             13
                                As noted above, this issue arose in the context of mediation discussions in a
                  28         separate matter, and thus, the details are not included in this Motion.
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                        13.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 17 of 24 Page ID
                                                    #:7618


                     1       investigated the issue and confirmed that the declaration filed in support of Tseng’s
                     2       Motion for Approval of the Settlement estimated that all of the Cosmetic sales
                     3       employees in the State of California worked a total of 45,065 pay periods from
                     4       September 9, 2010 to the end of November 2017, which was inaccurate. (Doc. 249-4,
                     5       ¶ 7.) As a result, incorrect inferences could potentially be drawn from Tseng’s
                     6       Motion for Approval of the Settlement regarding the per-pay-period value of the
                     7       Settlement. Although this issue does not arise from any submissions to the Court by
                     8       Nordstrom, Nordstrom is filing the present Motion to ensure the record regarding the
                     9       Settlement is clear and to request that this Court re-confirm the fairness of the
                  10         Settlement for the reasons detailed below.
                  11                Concurrently with this filing, Nordstrom also served a copy of this Motion and
                  12         all supporting documents on the LWDA. (Dunne Decl., ¶ 7.)
                  13         III.   THE COURT SHOULD APPROVE A PAGA SETTLEMENT WHERE,
                  14                AS HERE, THE SETTLEMENT IS FAIR, ADEQUATE, AND
                                    REASONABLE AND PROMOTES THE PURPOSES OF PAGA
                  15                A district court “must ‘review and approve’ any settlement of PAGA claims.”
                  16         Salazar v. Sysco Cent. Cal., Inc., 2017 U.S. Dist. LEXIS 14971, *5 (E.D. Cal. 2017).
                  17         However, the analysis used to approve PAGA-only settlements is somewhat different
                  18         than for class action settlements because “PAGA claims are intended to serve a
                  19         decidedly different purpose—namely to protect the public rather than for the benefit
                  20         of private parties.” See id. (citing Arias v. Superior Ct., 46 Cal. 4th 969, 986 [2009]);
                  21         see also Bruce v. Del Monte Foods, Inc., 2018 U.S. Dist. LEXIS 53800, *3 (N.D. Cal.
                  22         Mar. 29, 2018) (explaining that “[s]ettlement of a PAGA claim does not necessarily
                  23         follow the procedures governing class action settlements under Federal Rule of Civil
                  24         Procedure 23”). The LWDA has taken the position that “when a PAGA claim is
                  25         settled, the relief provided for under the PAGA [must] be genuine and meaningful,
                  26         consistent with the underlying purpose of the statute to benefit the public and, in the
                  27         context of a class action, the court [should] evaluate whether the settlement meets the
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      14.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 18 of 24 Page ID
                                                    #:7619


                     1       standards of being ‘fundamentally fair, reasonable, and adequate’ with reference to the
                     2       public policies underlying the PAGA.”      Salazar, 2017 U.S. Dist. LEXIS 14971, at
                     3       *5-8.
                     4               As detailed below, the applicable standard for approving a PAGA-only
                     5       settlement was and is satisfied here because: (1) there was a high risk that Tseng
                     6       would fail to overcome the manageability-related and merits-based hurdles she faced
                     7       to successfully litigate her seating claim, in which case Tseng, the LWDA, and
                     8       Affected Employees would receive nothing; and (2) even if Tseng were to succeed on
                     9       her PAGA seating claim, there was a significant likelihood that the Court would have
                  10         exercised its discretion to reduce any PAGA penalties award, especially given the
                  11         DLSE and IWC’s guidance dating back to the mid-1980’s, which stated that the nature
                  12         retail salespeople’s work did not reasonably permit the use of seats. These factors
                  13         support this Court’s re-approval of the Settlement regardless of the number of pay
                  14         periods at issue, especially given that the Settlement Agreement here provided
                  15         meaningful relief and is not conditioned in any way on a specified pay period number
                  16         or amount. (See Doc. 249-5.)
                  17                 A.    The Settlement Is Justified In Light Of The Significant Hurdles
                                           Tseng Faced To Manageably Litigate Her Seating Claim And
                  18                       Overcome Nordstrom’s Defenses On The Merits
                  19                 Nordstrom contended throughout the Tseng litigation, and still contends, that
                  20         Tseng’s seating claim is meritless and would ultimately fail because it cannot be
                  21         manageably litigated on a representative basis and because the nature of its Cosmetic
                  22         sales employees’ work does not reasonably permit the use of seats.
                  23                       1.    The Court’s Prior Rulings Created A Significant Risk That
                  24                             The Court Would Find That Tseng Could Not Manageably
                                                 Pursue Her Seating Claim On A Representative Basis
                  25                 Absent the Settlement, there is a high risk that Tseng’s case would have failed
                  26         completely at a motion regarding manageability (which was pending at the time the
                  27         Settlement was reached), at trial and/or on appeal, thus denying Tseng and the
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      15.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 19 of 24 Page ID
                                                    #:7620


                     1       employees she represented any recovery. To this end, the Settlement Agreement
                     2       submitted to the Court for approval provided a detailed analysis of the history of the
                     3       litigation, including the several rulings indicating that Tseng could not manageably
                     4       prosecute her seating claim on a representative basis.      (See Doc. 249-5, Ex. A
                     5       [Settlement Agreement], ¶¶ 21(a)-(i), ¶ 22.)
                     6             As noted above and in the Settlement Agreement, the Court had already denied
                     7       class certification, finding that Nordstrom “supplied considerable evidence that the
                     8       existing conditions regarding the nature of the work performed by Cosmetics
                     9       Counter Employees varies both store-to-store and employee-to-employee.” (Doc.
                  10         164 [Tseng Order Denying Class Cert. at 9] [emphasis added].)         At the time of
                  11         Settlement, the Court had also explained that it was “obvious” that Tseng could not
                  12         represent all Cosmetic sales employees statewide in a PAGA trial. (Dunne Decl., Ex.
                  13         A [12/19/16 Tseng Hrg.] at 10:8-14 [emphasis added].) In fact, it was an open
                  14         question at the time of settlement as to whether the Court would permit Tseng to
                  15         move forward in representing any subset of Cosmetic sales employees. (Doc. 228
                  16         [Opp. to Mot. to Define Scope].) Indeed, it is entirely possible that the Court would
                  17         have found that Tseng could not manageably litigate this case on a representative
                  18         basis, which would have dealt a fatal blow to her PAGA claim. See, e.g., Reyes v.
                  19         Macy's, Inc., 202 Cal. App. 4th 1119, 1123 (2011) (“a plaintiff asserting a PAGA
                  20         claim may not bring the claim simply on his or her own behalf ….”); Williams v.
                  21         Superior Court, 237 Cal. App. 4th 642, 649 (2015) (same); Ortiz v. Hobby Lobby
                  22         Stores, Inc., 52 F. Supp. 3d 1070, 1089 (E.D. Cal. 2014) (same).
                  23
                                         2.     There Was Also A High Risk That Tseng’s Claims Would Fail
                  24                            On The Merits Given The Strength Of Nordstrom’s Defenses
                  25               As noted above, to succeed on her seating claim, Tseng would have to
                  26         overcome numerous hurdles, including the fact that both state agencies responsible for
                  27         interpreting the Wage Orders have long stated the nature of retail sales work requires
                  28         standing. In 1986, the DLSE determined that the nature of retail sales work requires
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                     16.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 20 of 24 Page ID
                                                    #:7621


                     1       mobility:
                     2             [Section 14] was originally established to cover situations where the
                                   work is usually performed in a sitting position . . . It was not intended to
                     3             cover positions where the duties require employees to be on their feet,
                                   such as salespersons in the mercantile industry. Historically and
                     4             traditionally, salespersons have been expected . . . to greet customers and
                     5             move freely throughout the store to answer questions and assist
                                   customers….
                     6
                             (Doc. 147-3, Ex. 1 [DLSE Opinion Letter 12.05.1986] [emphasis added].) Then, in
                     7
                             1987, the IWC reached the same conclusion: “[t]he nature of the work for
                     8
                             salespersons is such that it requires them to be mobile . . . to greet customers and
                     9
                             move freely throughout the store.”       (Doc. 147-3, Ex. 2 [IWC Opinion Letter
                  10
                             01.13.1987] [emphasis added].) Nordstrom was informed by these opinions for years
                  11
                             which were part of the slim authority available to employers prior to 2016, when the
                  12
                             California Supreme Court issued its decision in Kilby v. CVS Pharmacy, Inc., 63 Cal.
                  13
                             4th 1 (2016). Nordstrom reasonably relied on these agencies’ judgment in addition to
                  14
                             its own business judgment for direction. There was a significant likelihood that
                  15
                             Tseng, as the ‘deputized’ representative of the State of California, would not be able
                  16
                             to persuasively contradict the State’s own guidance that the nature of retail sales
                  17
                             employees work did not reasonably permit the use of seats. (Doc. 147-3, Ex. 1 [DLSE
                  18
                             Opinion Letter 12.05.1986]; Doc. 147-3, Ex. 2 [IWC Opinion Letter 01.13.1987].)
                  19
                                   Based on the DLSE and IWC’s Opinion Letters, there is also a significant risk
                  20
                             that Tseng would have been equitably estopped from further pursuing her seating
                  21
                             claim because as the ‘deputized’ agent for the LWDA she cannot rely on a contrary
                  22
                             position to the guidance in effect, at least through the Kilby decision. See Gomez v. J.
                  23
                             Jacobo Farm Labor Contr., Inc., 188 F. Supp. 3d 986, 997-998 (E.D. Cal. 2016)
                  24
                             (stating that an employer’s reliance on opinion letters of the LWDA may equitably
                  25
                             estop the state, via its ‘deputized’ PAGA representative, from later suing a company,
                  26
                             such as Nordstrom, that reasonably relied on its prior guidance); Yamaha Corp. of
                  27
                             Am., 19 Cal. 4th at 7–8 (noting that an agency’s interpretation “is entitled to
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      17.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 21 of 24 Page ID
                                                    #:7622


                     1       consideration and respect by the courts”); Hamilton v. State Farm Fire & Cas.Co.,
                     2       270 F.3d 778, 782 (9th Cir. 2001) (explaining that equitable principles “preclude[] a
                     3       party from gaining an advantage by asserting one position, and then later seeking an
                     4       advantage by taking a clearly inconsistent position.”).
                     5             Moreover, there is a wealth of evidence that Nordstrom’s Cosmetic sales
                     6       employees in particular have job duties that are inconsistent with the use of seats.
                     7       Nordstrom expects its Cosmetic sales employees to be standing and mobile on the
                     8       sales floor to provide excellent customer service, deter theft, and avoid safety risks for
                     9       employees and customers alike. (See Doc. 228 [Opp. to Mot. to Define Scope].)
                  10         These tasks include, for example, greeting customers, walking them through the store
                  11         to suggest merchandise, walking through the department to tidy up, deterring
                  12         shoplifters by remaining mobile and interacting with customers in the store, etc. (See
                  13         Doc. 228 [Opp. to Mot. to Define Scope].) Thus, under Kilby’s guidance as well as
                  14         that of the DLSE and IWC, the nature of Nordstrom’s Cosmetics sales employees’
                  15         work does not reasonably permit sitting, which Nordstrom strongly believes would
                  16         ultimately defeat Tseng’s claims. (See id.)
                  17               Given these risks, the parties’ Settlement Agreement is fair, adequate and
                  18         reasonable. Indeed, multiple courts have approved PAGA-only settlements where, as
                  19         here, the parties provided notice to the LWDA and “arrived at a settlement agreement
                  20         after mediation and having considered the sharply disputed factual and legal issues
                  21         involved in the lawsuit, the risks and burdens attending further litigation, and the
                  22         benefits to be received through compromise and settlement of plaintiffs' claims.”
                  23         Salazar, 2017 U.S. Dist. LEXIS 14971, at *5-8 (approving PAGA-only settlement
                  24         after recognizing risks of continued litigation) (emphasis added); Bruce, 2018 U.S.
                  25         Dist. LEXIS 53800 at *3-4 (approving PAGA-only settlement based, in part, on the
                  26         fact that the defendant “ha[d] agreed to pay a significant monetary penalty for PAGA
                  27         claims that were subject to considerable uncertainty on both sides of this case” and
                  28         the parties “settled after presenting an overview of the evidence and their legal
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                       18.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 22 of 24 Page ID
                                                    #:7623


                     1       arguments at a mediation before a qualified mediator” [similar to Judge Gandhi
                     2       here])14; see also Juarez v. Villafan, 2017 U.S. Dist. LEXIS 137205, *5 (E.D. Cal.
                     3       2017) (approving the parties’ settlement and release of PAGA claims, FLSA claims
                     4       and state class action claims even though the settlement allocated $0 to the PAGA
                     5       and FLSA claims because the overall value of the settlement was fair); Nordstrom
                     6       Com. Cases, 186 Cal. App. 4th 576, 579 (2010) (rejecting argument “that the
                     7       settlement was not fair, adequate, and reasonable” even though it allocated $0 to the
                     8       plaintiff’s PAGA claim, which was nevertheless included as part of the overall
                     9       settlement).
                  10               Significantly, none of the decisions cited above approving PAGA-only
                  11         settlements (or the PAGA portion of a class action settlement) made any mention of
                  12         pay period valuations as being considered in the courts’ analysis or evaluation of the
                  13         fairness of these settlements. See generally Salazar, 2017 U.S. Dist. LEXIS 14971;
                  14         Bruce, 2018 U.S. Dist. LEXIS 53800, *3; Juarez, 2017 U.S. Dist. LEXIS 137205.
                  15               Thus, given the significant risk that Tseng’s seating claim would fail and
                  16         provide no recovery to her, the LWDA, or Affected Employees, the parties Settlement
                  17         – totaling nearly a million dollars (plus costs of administration) – is certainly fair,
                  18         adequate, and reasonable in light of the facts and circumstances of this case.
                  19               B.       Even If Tseng Had Succeeded In Bringing Her PAGA Seating Claim,
                  20                        There Is A High Likelihood The Court Would Have Exercised Its
                                            Discretion To Significantly Reduce Any PAGA Penalties Award
                  21               For the reasons detailed above, Nordstrom contends that the odds are remote
                  22         that Tseng could have overcome all of the obstacles outlined above to establish
                  23
                             14
                  24            The Bruce court also noted that “parties reasonably vetted the claims and defenses
                             through written discovery, motion practice, third-party subpoena practice, and
                  25         informal exchanges of information” and that the “settlement amount of $904,872
                  26         exceeds the amount plaintiffs estimated would be recovered even with a successful
                             litigation outcome.” Bruce, 2018 U.S. Dist. LEXIS 53800, *3 As explained below,
                  27         the amount awarded here was also entirely reasonable in proportion to the maximum
                             amount Tseng could reasonably expect to recover in this case regardless of the higher
                  28         number of pay periods ultimately confirmed by the Settlement Administrator.
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                     19.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 23 of 24 Page ID
                                                    #:7624


                     1       liability. However, even had Tseng done so, the Court would have had discretion to
                     2       reduce any PAGA award she obtained. See Cal. Lab. Code § 2699(e)(2) (stating that
                     3       “a court may award a lesser amount than the maximum civil penalty . . . if, based on
                     4       the facts and circumstances of the particular case, to do otherwise would result in an
                     5       award that is unjust, arbitrary and oppressive, or confiscatory”).   Here, there was a
                     6       particularly high risk that the Court would have exercised its discretion, especially
                     7       given the DLSE’s and IWC’s prior opinions, which would weigh heavily in favor of
                     8       substantially reducing any PAGA award. See id.; Doc. 147-3, Ex. 1 [DLSE Opinion
                     9       Letter 12.05.1986]; Doc. 147-3, Ex. 2 [IWC Opinion Letter 01.13.1987]; see also e.g.,
                  10         Fleming v. Covidien, Inc., 2011 U.S. Dist. LEXIS 154590, *9 (C.D. Cal. 2011)
                  11         (reducing the original PAGA penalty of $2.8 million by over 82% to $500,000]);
                  12         Aguirre v. Genesis Logistics, 2013 U.S. Dist. LEXIS 189820, *5-7 (C.D. 2013)
                  13         (reducing the original PAGA penalty of $1.8 million by over 72% to $500,000).
                  14               Given all the risk factors for Tseng outlined above, for Nordstrom to agree to
                  15         pay any amount, much less nearly a million dollars (plus the cost of settlement
                  16         administration) was more than fair to the LWDA, Affected Employees and Tseng.
                  17         This is true notwithstanding the differences in valuations based upon an estimated
                  18         45,065 pay periods provided in the declaration supporting Tseng’s Motion for
                  19         Approval of the Settlement and the 365,196 pay periods actually at issue.           As
                  20         evidenced by the lack of any pay period requirements or provisions in the Settlement
                  21         Agreement, the settlement was fair and adequate because it provided a way for all
                  22         parties to avoid further expense and burden while still allowing a significant recovery
                  23         to the LWDA and Affected Employees when they very likely would otherwise recover
                  24         nothing. (Doc. 249-5, Ex. A [Settlement Agreement], ¶ 24 [explaining that “PAGA
                  25         Counsel is of the opinion that the Settlement… is fair, reasonable, and adequate and is
                  26         in the best interest of the Affected Employees in light of all known facts and
                  27         circumstances, including the risk of significant delay and uncertainty associated with
                  28         litigation, the various defenses asserted by Defendant, and the numerous potential
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                     20.
         619.232.0441
                   Case 2:11-cv-08471-CAS-MRW Document 255-1 Filed 12/21/18 Page 24 of 24 Page ID
                                                    #:7625


                     1       appellate issues”], ¶ 25 [explaining that “although [Nordstrom] vigorously denies that
                     2       the Action has any merit, [it] has determined that” settlement is desirable “ to avoid
                     3       further expense, inconvenience and distraction of further legal proceedings….”].)
                     4       IV.     CONCLUSION
                     5               For the reasons detailed above, and to ensure the record regarding the
                     6       settlement of this action is clear, Nordstrom respectfully requests that the Court issue
                     7       an order taking notice of the final headcount and pay period figures and reconfirming
                     8       the Court’s approval of the Settlement Agreement overseen by Judge Gandhi.
                     9        Dated: December 21, 2018
                                                                            /s/ Joshua D. Levine
                  10                                                        JULIE A. DUNNE
                                                                            JOSHUA D. LEVINE
                  11                                                        LITTLER MENDELSON, P.C.
                                                                            Attorneys for Defendant
                  12                                                        NORDSTROM, INC.
                  13
                  14         FIRMWIDE:160929948.21 058713.1034


                  15
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27
                  28
LITTLER MENDELSON, P.C.
      501 W. BROADWAY
          SUITE 900
  SAN DIEGO, CA 92101.3577
                                                                      21.
         619.232.0441
